                                 DISTRICT COURT OF THE VIRGIN ISLANDS

                                              DIVISION OF ST. CROIX
                                                 ║
LORETTA S. BELARDO, ANGELA TUITT- ║
SMITH, BERNARD A. SMITH, YVETTE ║
ROSS-EDWARDS, AVON CANNONIER, ║                                1:18-cv-00008
ANASTASIA M. DOWARD, DARYL                       ║
RICHARDS, EVERTON BRADSHAW,                      ║
RODELIQUE WILLIAMS-BRADSHAW, ║
PAMELA GREENIDGE and WINSTON                     ║
GREENIDGE, on behalf of themselves ║
and all others similarly situated,               ║
                                                 ║
                        Plaintiffs,              ║
                                                 ║
        v.                                       ║
                                                 ║
BANK OF NOVA SCOTIA,                             ║
                                                 ║
                        Defendant.               ║
________________________________________________ ║


TO:        Vincent Colianni, II, Esq.
           Marina Leonard, Esq.
           Korey A. Nelson, Esq.
           Carol Ann Rich, Esq.


                    ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE

           THIS MATTER is before the Court upon the Motion for Admission of Pro Hac Vice of

Charles Jacob Gower, Esq. (ECF No. 24). Plaintiffs and Attorney Gower have satisfied all the

requirements of Rule 83.1(b)(2)1 of the Local Rules of Civil Procedure, and the appropriate

fee has been paid.



1   Local Rules of Civil Procedure Rule 83.1(b)(2) states in pertinent part:

           Any member in good standing of the bar of any court of the United States or of the highest
           court of any state, who is not under suspension or disbarment by any court, may in the
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        The record shows that Charles Jacob Gower, Esq., currently is an attorney in good

standing in the States of Louisiana and Texas. His Louisiana bar number is 34564. He

seeks special admission to represent Plaintiffs in the above-captioned matter.

        Attorney Gower is bound by the grievance procedures established for the Virgin

Islands bar, and he shall be subject to the disciplinary and contempt jurisdiction of this

Court in the course of practice during his pro hac vice admission, whether such disciplinary

action is taken before or after termination or revocation of his admission pro hac vice.

        Upon consideration of the said motion, the completed pro hac vice application, the

affidavit executed by Attorney Gower, and the record herein, it is now hereby ORDERED:

        1.         The Motion for Admission Pro Hac Vice of Charles Jacob Gower, Esq. (ECF No.

                   24) is GRANTED.

        2.         Charles Jacob Gower, Esq., is ADMITTED pro hac vice to practice before this

                   Court in the above-captioned matter.

        3.         Charles Jacob Gower, Esq., shall file forthwith a notice of appearance into the

                   record of the above-captioned matter.

        4.         Charles Jacob Gower, Esq., shall appear in person before the Court to take the

                   oath when he is physically present in this jurisdiction.




        discretion of the Court, on motion, be permitted to appear and participate in a particular
        case.

LRCi 83.1(b)(2).
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                                 ENTER:


Dated: December 4, 2018          /s/ George W. Cannon, Jr.
                                 GEORGE W. CANNON, JR.
                                 MAGISTRATE JUDGE
